Case 19-61688-wlh                Doc 120 Filed 09/13/19 Entered 09/14/19 01:10:35                                   Desc
                                Imaged Certificate of Notice Page 1 of 5




    IT IS ORDERED as set forth below:



     Date: September 10, 2019
                                                                       _____________________________________
                                                                                  Wendy L. Hagenau
                                                                             U.S. Bankruptcy Court Judge

_______________________________________________________________




                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

 In re:                                                     )              Chapter 11
                                                            )
 EAT HERE BRANDS, LLC, et al.1,                             )              Lead Case No. 19-61688-WLH
                                                            )
                    Debtors.                                )              Jointly Administered
                                                            )

                      ORDER SHORTENING NOTICE AND SCHEDULING
                  EXPEDITED HEARING ON BIDDING PROCEDURES MOTION

          This matter is before the Court on the 'HEWRUV¶0otion for an Order Shortening Notice

 and      Scheduling       an    Expedited        HHDULQJ RQ 'HEWRUV¶ %LGGLQJ 3URFHGXUHV 0RWLRQ

 [Docket No. 112] (the ³Motion´ of Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu

 Atlanta #2 LLC, Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2

 LLC, Babalu, LLC, and Babalu Birmingham #1 LLC                                       FROOHFWLYHO\ WKH ³Debtors´ .

 1
           7KH 'HEWRUV LQ WKHVH FKDSWHU  FDVHV DORQJ ZLWK WKH ODVW IRXU GLJLWV RI HDFK 'HEWRU¶V IHGHUDO WD[
 identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
 #2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
     %DEDOX //&   DQG %DEDOX %LUPLQJKDP  //&    7KH 'HEWRUV¶ PDLOLQJ DGGUHVV LV 
 Dogwood Road, Suite 200, Roswell, Georgia 30075.



 AGG\14005803v1
Case 19-61688-wlh          Doc 120 Filed 09/13/19 Entered 09/14/19 01:10:35                    Desc
                          Imaged Certificate of Notice Page 2 of 5


 All capitalized terms used but not defined in this Order and Notice shall have the meanings given

 to them in the Motion.

         The Court has considered the Motion, the Bidding Procedures Motion, the Final DIP

 Order, and all other matters reflected in the record in these Bankruptcy Cases.        It appears that

 the Court has jurisdiction over this proceeding; that this is a core proceeding; that notice of the

 Motion has been given to: (a) the parties identified on the Master Service List in these

 Bankruptcy Cases as approved by WKLV &RXUW¶V Order Establishing Notice and Administrative

 Procedures [Docket No. 33], and (b) via electronic mail on all persons or entities known or

 reasonably believed to have asserted an interest in the Acquired Assets; that no further notice is

 necessary; that the relief sought in the Motion is in the best interests of the Debtors, their estates,

 and their creditors; and that good and sufficient cause exists to grant the relief requested in the

 Motion.

         Accordingly, it is hereby ORDERED and NOTICE is hereby given that:

         1.       The Motion is GRANTED.

         2.       A hearing will be held on the September 26, 2019 at 1:30 p.m. (Eastern) in

 Courtroom 1403, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, Georgia

 30303 WKH³Hearing´ on the Bidding Procedures Motion, and that objections, if any, must be

 filed with the Court on or before 4:00 p.m. (Eastern) on September 23, 2019

 (the ³Objection Deadline´ and served on the following parties: (a) counsel to the Debtors,

 Arnall Golden Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta, Georgia 30363-1031,

 Attn: Darryl Laddin; (b) counsel to the Stalking Horse Bidder, 999 S. Shady Grove Road, Suite

 500, Memphis, Tennessee 38120, Attn: John A. Bobango; (c) counsel for Origin Bank, Morris,

 Manning & Martin, LLP, 3343 Peachtree Road, N.E., Suite 1600, Atlanta, Georgia 30326, Attn.




 AGG\14005803v1                                    2
Case 19-61688-wlh          Doc 120 Filed 09/13/19 Entered 09/14/19 01:10:35                Desc
                          Imaged Certificate of Notice Page 3 of 5


 Frank W. DeBorde, (d) counsel for the Official Committee of Unsecured Creditors, Scroggins &

 Williamson, P.C., 4401 Northside Parkway, Suite 450, Atlanta, Georgia 30327, Attn. Hayden

 Kepner, Jr.; and (e) the Office of the United States Trustee, 75 Ted Turner Drive, S.W., Room

 362, Atlanta, Georgia 30303.

         3.       Notice of the Motion is hereby shortened, and counsel for the Debtors is directed

 to serve a copy of this Order and Notice on: (i) the entire creditor matrix in each of the

 Bankruptcy Cases and (ii) via electronic mail on all persons or entities known or reasonably

 believed to have an interest in in purchasing the Acquired Assets within two (2) days of the entry

 of this Order and to file a certificate of service with the Clerk of the Court.

         4.       The Court shall retain jurisdiction to hear and determine all matters arising from

 the implementation of this Order.

                                     *** END OF ORDER ***

 Prepared and presented by:

 ARNALL GOLDEN GREGORY LLP

 /s/ Darryl S. Laddin
 Darryl S. Laddin
 Georgia Bar No. 460793
 Sean C. Kulka
 Georgia Bar No. 648919
 171 17th Street, N.W., Suite 2100
 Atlanta, Georgia 30363-1031
 Phone: (404) 873-8500
 Fax: (404) 873-8683
 Email: darryl.laddin@agg.com
 Email: sean.kulka@agg.com

 Attorneys for Debtors and Debtors in Possession




 AGG\14005803v1                                    3
            Case 19-61688-wlh              Doc 120 Filed 09/13/19 Entered 09/14/19 01:10:35                                Desc
                                          Imaged Certificate of Notice Page 4 of 5
                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 19-61688-wlh
Eat Here Brands LLC                                                                                        Chapter 11
Babalu Atlanta #1 LLC
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: jlc                          Page 1 of 2                          Date Rcvd: Sep 11, 2019
                                      Form ID: pdf534                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 13, 2019.
db             +Eat Here Brands LLC,   9755 Dogwood Road,   Suite 200,   Roswell, GA 30075,
                 UNITED STATES 30075-4663

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 13, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 11, 2019 at the address(es) listed below:
              Constance L. Young    on behalf of Creditor   HGKL Investments Series, LLC - Series I
               constance.young@wbd-us.com, Stephanie.hanley@wbd-us.com;Janice.phillips@wbd-us.com
              Darryl S. Laddin    on behalf of Debtor   Babalu, LLC bkrfilings@agg.com, darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Eat Here Brands LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Birmingham #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Memphis #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Memphis #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Knoxville #1, LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of JointAdmin Debtor   Babalu Atlanta #2 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Darryl S. Laddin    on behalf of Debtor   Babalu Atlanta #1 LLC bkrfilings@agg.com,
               darryl.laddin@agg.com
              Ewing, Scott - Omni Management Group    on behalf of Claims Agent   Omni Management Group, Inc.
               sewing@omnimgt.com, ecf@omnimgt.com
              Ewing, Scott - Omni Management Group    on behalf of Interested Party   Omni Management Group
               sewing@omnimgt.com, ecf@omnimgt.com
              Gwendolyn J Godfrey    on behalf of Creditor   Origin Bank ggodfrey@mmmlaw.com,
               dcassidy@mmmlaw.com
              Hal Jordan Leitman    on behalf of Creditor   Federal Realty Investment Trust
               hleitman@rlklawfirm.com,
               swenger@rlklawfirm.com;yalamin@rlklawfirm.com;lawclerk@rlklawfirm.com;R71213@notify.bestcase.com
         Case 19-61688-wlh         Doc 120 Filed 09/13/19 Entered 09/14/19 01:10:35               Desc
                                  Imaged Certificate of Notice Page 5 of 5


District/off: 113E-9          User: jlc                    Page 2 of 2                  Date Rcvd: Sep 11, 2019
                              Form ID: pdf534              Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              J. Hayden Kepner, Jr.    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors hkepner@swlawfirm.com,
               rwilliamson@swlawfirm.com;centralstation@swlawfirm.com;fharris@swlawfirm.com
              Jeffrey R. Barber    on behalf of Creditor    Fondren Place Development Company, LLC
               jbarber@joneswalker.com, kbrabston@joneswalker.com
              Kelly E. Waits    on behalf of Creditor    Fritz Farm Retail Co., LLC, as assignee of Lexington
               Retail Company, L.L.C. kwaits@burr.com
              Kevin A. Maxim    on behalf of Creditor    Sunrise Fresh Produce, LLC (t/a Sunrise Jackson)
               kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Memphis, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Central Alabama, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Creation Gardens, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Knoxville, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint North Carolina, Inc. (t/a FreshPoint Raleigh
               and t/a FreshPoint Nashville, Inc.) kmaxim@maximlawfirm.com, kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Jackson, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    FreshPoint Atlanta, Inc. kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Kevin A. Maxim    on behalf of Creditor    Sysco Charlotte, LLC kmaxim@maximlawfirm.com,
               kevin.maxim@gmail.com
              Lindsay P. S. Kolba    on behalf of U.S. Trustee    United States Trustee lindsay.p.kolba@usdoj.gov,
               lisa.maness@usdoj.gov
              Michael F. Holbein    on behalf of Debtor    Eat Here Brands LLC michael.holbein@agg.com,
               angela.ford@agg.com;carol.stewart@agg.com
              Sean C. Kulka   on behalf of Debtor     Eat Here Brands LLC sean.kulka@agg.com
              Stuart Freeman Wilson-Patton    on behalf of Creditor    TN Dept of Revenue agbankgeorgia@ag.tn.gov,
               Stuart.Wilson-Patton@ag.tn.gov
              Theodore N. Stapleton    on behalf of Creditor    S.A.R. & Associates, Inc. tstaple@tstaple.com
                                                                                              TOTAL: 37
